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                   UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA                      NOTICE OF APPEARANCE

                                              Case No: CR 20-261 (DSD/TNL)
vs.

ADITYA RAJ SHARMA,

                Defendant.


         The undersigned attorney hereby notifies the Court and counsel that Elizabeth R.

Duel, shall appear as counsel of record, along with Ryan P. Garry, for Aditya Raj

Sharma, the Defendant in this case.




                                                 Respectfully submitted,

                                                 RYAN GARRY, ATTORNEY, LLC


Dated:     November 20, 2020                     s/ Elizabeth Duel
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